. Case 1:07-cv-00541-LG-JMR Document 43-4 Filed 03/05/08 Pagelof5

LAW OFFICES OF

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DAVID N. DUHE"
HALEY N. BROOM
AMANDA M. SCHWARTZ*** January 7, 2008
JON S. TINER

‘also Ncensed in TX
**aiso licensed In CA
“**also ficensed in NC

VIA FACSIMILE - (865-0337)
‘and U.S. Mail

Michael Crosby, Esq.
2111 25" Avenue
Gulfport, MS 39501

Re: — Roderick Clark Miller v. Harrison County, Mississippi, et al.
U. S. District Court, Southern District of Mississippi, Southern Division
Civil Action No. 1:07cv541
Our File No. 1811.0108

Dear Michael:

I have previously contacted your office on several occasions regarding the Plaintiff's Pre-
Discovery Disclosures which are now past due. Also, please reference Sheriff Payne’s First Set of
Interrogatories and First Request for Production of Documents, and Phil Taylor’s First Set of
Interrogatories served on or about November 5, 2007. To date, we have not received your responses
to this written discovery.

Please either provide Defendants with your responses on or before January 11, 2008 or sign
the enclosed Good Faith Certificate on the line indicated, and return same to me in the stamped, self-
addressed envelope. IfI do not receive your Pre-Discovery Disclosures and discovery responses or
the signed certificate from you on or before January 11, 2008, I will proceed with a Motion to
Compel and note that you refused to sign certificate.

Sincerely,

DUKES, DUKES, KEATING & FANECA, P.A.

N). Boon

' Haley N. Broom
EXHIBIT

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Case 1:07-cv-00541-LG-JMR Document 43-4 Filed 03/05/08 Page2of5

HNB:lh
Enclosure

cc: John Whitfield
Jim Davis
Karen Young
George Hembree, III
Case 1:07-cv-00541-LG-JMR Document 43-4 Filed 03/05/08 Page 3of5

Form 5 (ND/SD Miss. Dec. 2000)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI

RODERICK CLARK MILLER

Plaintiff

Vv. CIVIL ACTION

No.

HARRISON COUNTY, MISSISSIPPI, BY AND
THROUGH ITS BOARD OF SUPERVISORS,
HARRISON COUNTY SHERIFF
DEPARTMENT, SHERIFF GEORGE PAYNE,
OFFICIALLY AND IN HIS INDIVIDUAL CAPACITY,
DIRECTOR OF CORRECTIONS

MAJOR DIANNE GATSON-RILEY, OFFICIALLY
AND IN HER INDIVIDUAL CAPACITY, BOOKING
SUPERVISOR CAPTAIN RICK GASTON,
OFFICIALLY AND IN HIS INDIVIDUAL CAPACITY,
TRAINING DIRECTOR CAPTAIN PHIL
TAYLOR, OFFICIALLY AND IN HIS INDIVIDUAL
CAPACITY, CENTRAL CONTROL OFFICER
PRESTON WILLS, OFFICIALLY AND IN HIS
INDIVIDUAL CAPACITY, BOOKING ROOM
DEPUTY JERRED MARK NECAISE,
OFFICIALLY AND IN HIS INDIVIDUAL CAPACITY,
BOOKING ROOM DEPUTY CATHERINE
PAVOLINI, OFFICIALLY AND IN HER INDIVIDUAL
CAPACITY, AMERICAN CORRECTIONAL
ASSOCIATION, AND OTHER UNKNOWN
JOHN AND JANE DOES A-Z, ALSO IN THEIR
OFFICIAL AND INDIVIDUAL CAPACITIES

Defendants

GOoD FAITH CERTIFICATE

1:07cv00541 LGJMR
Case 1:07-cv-00541-LG-JMR Document 43-4 Filed 03/05/08 Page4of5

Form 5 (ND/SD Miss. DEc. 2000)

All counsel certify that they have conferred in good faith to resolve the issues in question and that it is
necessary to file the following motion:

Motion to Compel

Counsel further certify that:
V as appropriate:

1. The motion is unopposed by all parties.

2. The motion is unopposed by:

Y  3.The motion is opposed by: Plaintiff

4. The parties agree that replies and rebuttals to the motion shall be submitted to the magistrate
Judge in accordance with the time limitations stated in Uniform Local Rule 7.2

This the day of 2008.

Signature of Plaintiff's Attorney

Typed Name and Bar Number

Signature of Defendant’s Attorney

Cy Faneca, MSB # 5128

Typed Name and Bar Number
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220-B6B-1444
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OAVIDN, DUHE"
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AMANDA M. SCHWARTZ** January 7, 2008
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